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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


 The Appeal, Inc., et al.                              CASE NUMBER:

                                    Plaintiff(s)              ED CV 22-2111-JFW(AFMx)
                            v.

 United States Department of Justices Office of        ORDER VACATING SCHEDULING
 Justice Programs                                      CONFERENCE, REFERRAL TO
                                                       PRIVATE MEDIATION, and
                                    Defendant(s).      DISMISSING ANY UNSERVED
                                                       DOE DEFENDANTS

The Court has reviewed the parties' Joint Rule 26(f) Report and finds that a Scheduling
Conference is not necessary.

# The hearing on March 20, 2023 is vacated and taken off calendar
# A Scheduling and Case Management Order will issue
# Any unserved DOE defendants are dismissed at this time

The Court, having considered the parties’ Request: ADR Procedure Selection, the Notice to
Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed.
R. Civ. P. 26(f) and Civil L.R. 26-1, hereby orders this case referred to:

#      ADR Procedure No. 3: Private mediation

    < The ADR proceeding is to be completed no later than: July 10, 2023
    < The Joint Report re: Results of Settlement Conference is due on: July 14, 2023

Counsel are responsible for contacting the private mediator at the appropriate time to arrange for
further proceedings.

Dated: March 6, 2023
                                                        ___________________________
                                                        United States District Judge
CC: ADR
